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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                   8:15CR134

       vs.
                                                                   ORDER
JULIAN ANACLETO
MANJARREZ-SANCHEZ and
JUAN MANJARREZ-SANCHEZ,

                     Defendants.


       This matter comes on before the Court upon the United States=s Amended Motion

to Dismiss Forfeiture and Motion to Vacate Preliminary Order of Forfeiture (Filing No. 93).

The Court reviews the record in this case and, being duly advised in the premises, finds

the United States=s motions should be sustained.

       IT IS THEREFORE ORDERED as follows:

       1. The United States=s Amended Motion to Dismiss Forfeiture and Motion to

Vacate Preliminary Order of Forfeiture is hereby sustained.

       2.    The Preliminary Order of Forfeiture (Filing No. 91) is vacated and the

Forfeiture Allegation of the Indictment (Filing No. 31) is hereby dismissed.

       Dated this 18th day of December, 2015.

                                                   BY THE COURT:



                                                     s/Joseph F. Bataillon
                                                   JOSEPH F. BATAILLON
                                                   Senior United States District Judge
